                  UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF MICHIGAN
                          BAY CITY DIVISION

In The Matter Of:                                  In Bankruptcy:

TERRY LEE LINTERN                                  Case No. 18-20962-DSO
                                                   Chapter 7
             Debtor(s).                /           Hon. DANIEL S. OPPERMAN

                     CERTIFICATE OF DISTRIBUTION

       Daniel C. Himmelspach, Trustee of the above-named estate, hereby states
the following:

      1.    That the Trustee has fully administered this estate by either liquidating
or abandoning all property of the estate;

      2.     That the Trustee has collected $17,291.57 and disbursed $7,986.04,
leaving a balance on hand of $9,305.53, which funds are deposited in an account at
Green Bank;

      3.     That of the funds on hand the following distribution should be made:

Chapter 7 Administrative Expenses Amount Allowed             % Paid     Amount Paid
Daniel C. Himmelspach, Trustee Fee     $1,687.92             100.00       $1,687.92
Daniel C. Himmelspach, Trustee            $85.57             100.00          $85.57
Expense
Daniel C. Himmelspach Attorney for     $3,080.00              100.00       $3,080.00
Trustee Fees
                                                           Subtotal:       $4,853.49

Unsecured Claims                       Amount Allowed        % Paid     Amount Paid
1     Sagelink Credit Union                $20,137.30         22.11       $4,452.04
                                                           Subtotal:      $4,452.04




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                                                             Total:       $9,305.53


The undersigned Trustee certifies under penalty of perjury that the foregoing is
true and correct to the best of his knowledge.

                                           /s/ DANIEL C. HIMMELSPACH
                                           P31950
Dated: November 14, 2018                   Daniel C. Himmelspach, Chapter 7
                                           Trustee
                                           PO Box 5856
                                           3064 Boardwalk
                                           Saginaw, MI 48603
                                           Phone: (989) 790-0400
                                           E-mail: trusteehimmelspach@gmail.com




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